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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     WISK AERO LLC,                                   Case No. 3:21-cv-02450-WHO
                                                       Plaintiff,
                                   8
                                                                                          ORDER TO SUBMIT UNREDACTED
                                                 v.                                       BRIEF
                                   9

                                  10     ARCHER AVIATION INC.,                            Re: Dkt. Nos. 495, 499
                                                       Defendant.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13          Wisk filed the redacted and unsealed version of its Opposition to Archer’s Motion to

                                  14   Exclude the Expert Testimony of Patrick Kennedy, Dkt. No. 495, but apparently did not file an

                                  15   unredacted version under seal with its other unredacted exhibits, Dkt. No. 499. Wisk is

                                  16   ORDERED to file the unredacted version of this brief by Tuesday, April 25, 2023, at 9:00 a.m.

                                  17          IT IS SO ORDERED.

                                  18   Dated: April 23, 2023

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                                                                                                  William H. Orrick
                                  21                                                              United States District Judge
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